439 F.2d 697
    William Nicholas KARCHER, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.No. 31043 Summary Calendar.**Rule 18, 5 Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409.
    United States Court of Appeals, Fifth Circuit.
    March 4, 1971.
    
      William Nicholas Karcher, pro se; James C. Bonner, Administrative Asst., Legal Assistance for Inmates, Program, Atlanta, Ga., for petitioner-appellant.
      Robert W. Rust, U.S. Atty., Richard A. Hauser, Asst. U.S. Atty., Miami, Fla., for respondent-appellee.
      Appeal from United States District Court, Southern District of Florida; Ted Cabot, District Judge.
      Before BELL, AINSWORTH, and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    